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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOHN DOE,                                    :
                    Plaintiff,               :
                                             :
          v.                                 :      Civ. No. 18-2044
                                             :
ST. JOSEPH’S UNIVERSITY, et al.              :
                 Defendants.                 :

                                        ORDER

      AND NOW, this 16th day of May, 2018, in light of my Order (Doc. No. 5) denying

Plaintiff’s Motion for Temporary Restraining Order (Doc. No. 2), is hereby ORDERED that the

hearing scheduled for Thursday, May 17, 2018 at 1:00 p.m. is CANCELED.




                                                       AND IT IS SO ORDERED.

                                                       /s/ Paul S. Diamond
                                                       _________________________
                                                       Paul S. Diamond, J.
